Case 2:04-cV-02416-STA-tmp Document 28 Filed 07/21/05 Page 1 of 2 Page|D 40

 

  

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IN THE UNITED sTATES I)ISTRICT CoURT --~
WESTERN DISTRICT oF TENNESSEE 95
WESTERN DIV_IsIoN JU'~ 2| AH|D= 175
CLEDJ<, U.S. .i" ""P!
FREDDIE L. MooRE, ltth

Plaintiff,
v. Civil Acrion No. 04-2416 BA

TOYS-R-US DELAWARE, INC.,
C/O JON JAY ASSOCIATES, INC.

Defendant.

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ORDER GRANTING JOINT MOTION TO REOPEN D]SCOVERY AND TO EXTEND
DEADLINE FOR FILING DISPOSITIVE MOTIONS

 

Upon consideration of the parties’ Joint Motion to Reopen Discovery and to Extend
Deadline for Filing Dispositive Motions, and for good cause shown, it is hereby
ORDERED, ADJUDGED and DECREED that discovery Shall be reopened until August

1, 2005, and the deadline for filing dispositive motions shall be extended to August 5, 2005.

ENTERED rhis&!:?iay OfJuly, 2005.

§57777@77_/

United States Magistrate Judge

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This notice confirms a copy of the document docketed as number 28 in
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Honorable .1. Breen
US DISTRICT COURT

